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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       DANIELA MACIAS

Docket Number:                       1:06CR00291-03 OWW

Offender Address:                    Parlier, California

Judicial Officer:                    Honorable Oliver W. Wanger
                                     Senior United States District Judge
                                     Fresno, California

Original Sentence Date:              March 5, 2007

Original Offense:                    18 U.S.C. 37, Conspiracy to Possess Stolen Mail,
                                     Fraudulent Use of an Access Device Issued to Another
                                     Person and Bank Fraud (Class D Felony)

Original Sentence:                   10 month custody of the Bureau of Prisons; 3 years
                                     term of supervised release; $100 special assessment;
                                     $10,431.26 restitution and mandatory testing.

Special Conditions:                  1) Search; 2) Not dissipate assets; 3) Financial
                                     disclosure; 4) No new lines of credit; 5) Drug treatment;
                                     6) Drug testing; 7) No alcohol; 8) Mental health
                                     treatment; 9) Co-payment; 10) Seek and obtain
                                     employment or attend educational or vocational
                                     classes.

Type of Supervision:                 Supervised release.

Supervision Commenced:               January 7, 2008

Assistant U.S. Attorney:             Marianne A. Pansa               Telephone: (559) 497-4000

Defense Attorney:                    Richard A. Beshwate             Telephone: (559) 266-5000




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RE:    Daniela Macias
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Other Court Action:

07/22/08:                          The Court was advised of illicit drug use. Random
                                   urinalysis was increased and referred to drug
                                   counseling. Court approved probation officer’s plan.


                               PETITIONING THE COURT

       To modify the conditions of supervision as follows: You shall
       reside and participate in the Comprehensive Sanction Center, Turning Point,
       Fresno, California, for a period of not more than 120 days; said placement
       shall commence as directed by the probation officer.


Justification:

The offender failed to attend drug counseling and failed to provide a urine specimen for the
months of July through September of 2008. The offender reported that she was having
transportation difficulties and could not get to the testing center or the probation office.

On September 17, 2008, the offender reported to the office, and although attempted
several times, was not able to provide a urine specimen. Nevertheless, the offender denied
use of illegal substances.

On October 9, 2008, the offender reported she had not used drugs in the last six months.
A urine specimen was collected on the same date, which was confirmed to be positive for
methamphetamine and amphetamine.

On October 16, 2008, the offender admitted to providing false information to the probation
officer, and stated she did in fact use methamphetamine on October 12, 2008. The
offender requested assistance in controlling her use of narcotics and signed a Waiver of
Hearing Modification to Conditions, agreeing to participate in a live-in program for a
maximum of 120 days.

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On the same date, Jimmy Martinez, Turning Point Program Director advised that on
November 17, 2008, they will be able to accept the offender into the program.

In light of the releasee's continued drug use, it appears a more restrictive environment
would be beneficial. She has agreed to placement in Turning Point, Comprehensive
Sanction Center, Fresno, California, for a period of not more than 120 days. Until the
offender is admitted into the drug program, she was directed to drug test at the probation
office at the direction of the probation officer. She was also provided with a bus pass and
advised to call this officer on a daily basis. The releasee has signed the attached Form 49,
Waiver of Hearing document.



                                   Respectfully submitted,

                                      /s/ Adrian Garcia

                                    Adrian Garcia
                            United States Probation Officer
                              Telephone: (559) 499-5715

DATED:        October 20, 2008
              Fresno, California
              AG


REVIEWED BY:         /s/ Hubert J. Alvarez
                     Hubert J. Alvarez
                     Supervising United States Probation Officer




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THE COURT ORDERS:

( X)   Modification approved as recommended.

( )    Modification not approved at this time. Probation Officer to contact Court.

( )    Other:



IT IS SO ORDERED.

Dated: October 27, 2008                      /s/ Oliver W. Wanger
emm0d6                                  UNITED STATES DISTRICT JUDGE




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